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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §    CASE NO. 9:09-CR-12(5)
                                                §
ARTURO GARCIA                                   §

                          MEMORANDUM ORDER
             ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge. The Magistrate Judge recommended that the Court

accept Defendant’s guilty plea and conditionally accept the plea agreement.             He further

recommended that the Court finally adjudge Defendant as guilty on Count IX of the Indictment

filed against Defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Findings of Fact and ecommendation on Guilty Plea should be accepted. It is, therefore,

ORDERED that the Findings of Fact and Recommendation on Guilty Plea of the United States


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Magistrate Judge are ADOPTED. The plea agreement is conditionally accepted by the Court at this

time. It is further ORDERED that, in accordance with Defendant’s guilty plea and the magistrate

judge’s findings and recommendation, Defendant, Arturo Garcia, is hereby adjudged as guilty on

Count IX of the charging Indictment charging violations of Title 21, United States Code, Section

841(a)(1).

     SIGNED this the 17 day of December, 2009.




                                   ____________________________
                                   Thad Heartfield
                                   United States District Judge




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